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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF FLORIDA

  COLONEL FINANCIAL MANAGEMENT
  OFFICER, et al.,
                           Plaintiffs,
                                                    Case No. 8:22-cv-1275 (SDM/TGW)
        v.
  LLOYD AUSTIN, in his official capacity as
  Secretary of the United States Department of
  Defense, et al.,
                           Defendants.


  NAVY SEAL 1, et al.,
                           Plaintiffs,
        v.                                          Case No. 8:21-cv-2429 (SDM/TGW)
  LLOYD AUSTIN, in his official capacity as
  Secretary of the United States Department of
  Defense, et al.,
                           Defendants.


          DEFENDANTS’ NOTICE OF SUPPLEMENTAL AUTHORITY

        Pursuant to Local Rule 3.01(i), Defendants hereby notify the Court of

  supplemental authority related to the Defendants’ pending Motion to Dismiss for

  Mootness, or for an Indicative Ruling to Dissolve Injunctions, ECF No. 275. Several

  courts have acted on mootness issues in cases challenging the armed services’

  vaccination requirements for COVID-19 following rescission of that requirement.

  Two panels of the Ninth Circuit Court of Appeals dismissed Service members’ appeals

  from the denial of preliminary injunctions prohibiting enforcement of the military’s

  COVID-19 vaccination requirement, finding moot those requests for injunctive relief.

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  See Short v. Berger, Nos. 22-15755, 22-16607 (9th Cir. Feb. 24, 2023) (a Marine Corps

  case); Dunn v. Austin, No. 22-15286 (9th Cir. Feb. 27, 2023). Several district courts

  have likewise noted that challenges to the COVID-19 vaccination requirement are

  moot. See Alvarado v. Austin, No. 122CV876AJT-JFA, 2023 WL 2089246, at *3 (E.D.

  Va. Feb. 17, 2023) (“requests and any relief therefrom are now stale given the

  Rescission Memo”); Chancy, et al. v. Biden, et al., 1:22-cv-110, ECF No. 32 (N.D. Fla.

  Feb. 14, 2023) (dismissing case challenging military COVID-19 vaccine requirement

  as moot); Clements v. Austin, No. 2:22-2069-RMG, ECF No. 57 (D.S.C. March 7, 2023)

  (denying preliminary injunction as moot). Other cases related to the DoD vaccine

  requirement have been voluntarily dismissed after the rescission. See Okla. v. Biden,

  No: 5:21-cv-01136, ECF Nos. 77, 78, 82 (W.D. Okla. Feb. 17, 2023 and March 7,

  2023); Church v. Biden, No. 1:21-cv-2815, ECF No 43 (D.D.C. Jan. 23, 2023)

  (including Marine Corps plaintiffs); Air Force Major v. Austin, No. 3:22-cv-00756, ECF

  No. 25 (N.D. Tex. March 7, 2023).

  Dated: March 8, 2023                       Respectfully submitted,

  BRIAN M. BOYNTON                           /s/ Amy. E. Powell
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